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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


RONALD CONNER,

           Movant

v.                                            CIVIL ACTION NO. 2:03-02261
                                              (Criminal No. 2:02-00226-03)

UNITED STATES OF AMERICA,

           Respondent


                        MEMORANDUM OPINION AND ORDER


           Pending before the court is the movant’s motion

pursuant to 28 U.S.C. § 2255, filed October 16, 2003, which seeks

the vacatur, set aside, or correction of his sentence of 84

months imprisonment.       The motion was subsequently amended on

January 14, 2004, and June 29, 2004, to add additional

allegations.


           In accordance with the provisions of 28 U.S.C. §

636(b)(1)(B), the court received the proposed findings and

recommendation of the United States Magistrate Judge on March 2,

2005.   Movant filed objections, consisting of 34 handwritten

pages, to the proposed findings and recommendation on March 11,

2005.


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                                      I.


           The court adopts the magistrate judge’s recitation of

the facts and procedural history and will revisit those facts

only to the extent necessary to resolve the movant’s objections

meriting consideration.


           Following movant’s guilty plea to count one of the

indictment which alleged movant conspired to distribute more than

five grams of cocaine base, the court sentenced the defendant to

84 months imprisonment to be followed by four years of supervised

release on August 21, 2003.         By letter dated August 25, 2003,

movant’s counsel, Troy Giatras, restated this sentence to the

movant and further advised him that he had ten days from the

August 21, 2003, sentence in which to inform Giatras of his

desire to appeal the sentence.1        Also on August 25, 2003, movant

wrote a letter to Giatras indicating his belief that the court

failed to correctly calculate the total offense level during the


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      Although the sentencing took place on August 21, 2003, the
judgment order was not entered until August 29, 2003.
Accordingly, the ten day period in which movant could file a
notice of appeal began to run on August 29, 2003. Federal Rule
of Appellate Procedure 4(b)(1)(A)(i); see also, U.S. v. Martinez,
277 F.3d 517, 523 (4th Cir. 2002)(noting that notice of appeal
filed after defendant had been sentenced, but prior to entry of
the judgment order was pre-mature). In any event, movant did not
specifically request that Giatras file an appeal. See pgs. 4-5,
infra.

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sentencing proceedings.      On August 28, 2003, movant’s father sent

an email to Giatras reiterating that the movant believed that the

total offense level had been mistakenly calculated and further

informing Giatras that, “[h]e [movant] said he only had [un]til

Sunday to respond.”2     By letter dated August 29, 2003, Giatras

informed the movant that the calculations were correct and

further stated that as a result, “we will not be filing a

[m]otion to appeal with respect to your sentencing.”


                                    II.


           Addressing the threshold issue in this case, the court

must first consider movant’s claim that Giatras failed to

properly file a direct appeal on movant’s behalf.             The failure of

a defense attorney to file a direct appeal when so requested by

the defendant constitutes per se ineffective assistance of

counsel.   See Roe v. Flores-Ortega, 528 U.S. 470, 476-77 (2000);

United State v. Peak, 992 F.2d 39, 42 (4th Cir. 1993).             In the



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      August 31, 2003, was a Sunday. Movant appears to have been
under the mistaken belief that he had only ten calendar days in
which to indicate his desire to appeal the sentence. This is not
the case under Rule 26(a)(2) of the Federal Rules of Appellate
Procedure, which provides that intermediate Saturdays, Sundays,
and legal holidays are not included in the computation of a time
period which is less than 11 days. Of course, the ten day period
did not begin to run until entry of judgment on August 29, 2003.


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absence of a direct instruction from the defendant to appeal, the

question of whether counsel's failure to appeal is

constitutionally deficient depends upon “whether counsel in fact

consulted with the defendant about an appeal.”            Roe, 528 U.S. at

478.   Under Roe, where counsel has consulted with the defendant,

counsel’s failure to file an appeal is deficient only if it

contradicts the defendant's instruction to appeal.             Id.


           It is undisputed that Giatras consulted with the

movant.    Giatras specifically informed the movant that should he

wish to appeal his sentence it was necessary that the movant

inform him of this desire.      Furthermore, upon the inquiries of

movant and his father, Giatras informed the movant on August 29,

2003, that he had verified that the court’s calculations were

correct.


           While it is true that the movant did, on August 25,

2003, inquire as to the accuracy of the court’s calculations with

respect to the total offense level, this inquiry appears to be

more akin to a mere expression of confusion as to how the court

arrived at the total offense level, rather than a request that

Giatras file an appeal.      Indeed, the August 28, 2003, email from

movant’s father to Giatras implies that as of that date movant

had yet to request a notice of appeal be filed.            As evidenced by

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the correspondence, at no time did movant ever specifically

request in writing that an appeal be filed and it appears that

the response offered by Giatras on August 29, 2003, clarified any

confusion surrounding the calculation of the total offense level

and concluded the movant’s inquiry into the matter.


           Even though movant’s objections appear to posit that he

requested an appeal, he concedes in the objections that the

correspondence does not specifically state a request for an

appeal.   (Mov. Obj. at 14.)         Furthermore, movant does not contend

that he contacted Giatras after August 29, 2003, to request that

an appeal be filed.       While recognizing that the issue of whether

a criminal defendant informed an attorney of his desire to appeal

often involves a question of fact, this case does not present a

factual dispute.       There is no evidence which would suggest that

movant specifically informed Giatras, either verbally or in

writing, of his desire to file an appeal.              Accordingly, there is

no factual dispute that would necessitate an evidentiary hearing

on this issue.       Inasmuch as it is clear that movant did not

actually request an appeal, his ineffective assistance of counsel

claim fails.    See Ludwig v. United States, 162 F.3d 456, 459 (6th

Cir. 1998) (“the Constitution is only implicated when a defendant

actually requests an appeal, and his counsel disregards the


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request”); see also Garnica v. U.S., 361 F. Supp.2d 724, 730-31

(E.D. Tenn. 2005) (holding that petitioner’s ineffective

assistance of counsel claim failed and noting that no evidentiary

hearing was required where petitioner’s attorney concluded that

appeal was not meritorious and petitioner did not allege that he

had specifically instructed the attorney to appeal).


           The court next turns to the issue of whether movant’s

claims are procedurally barred.       If the errors asserted in a

section 2255 motion were not raised on direct appeal, a court

must ordinarily consider the challenge procedurally barred in a

section 2255 proceeding.      See Bousley v. United States, 523 U.S.

614, 621-23 (1998); United States v. Frady, 456 U.S. 152, 167

(1982); see also United States v. Mikalajunas, 186 F.3d 490 (4th

Cir. 1999).    Absent a showing that the ground of error was

unavailable, a court may not consider that ground in a motion for

§ 2255 relief unless the petitioner establishes “cause” excusing

his failure to raise the ground on direct appeal, and “actual

prejudice” resulting from the alleged error.           Bousley, 523 U.S.

at 622.


           In light of the determination that movant’s ineffective

assistance of counsel claim is without merit, movant has not

demonstrated either good cause or actual prejudice for his

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failure to advance the issues on direct appeal which he now

asserts in his section 2255 motion.         Thus, those section 2255

claims are procedurally barred and need not be further addressed.

Moreover, the magistrate judge has fully considered all of the

issues raised in movant’s objections and aptly concluded that

each of his claims is meritless.3


                                    III.


           In view of the foregoing, the proposed findings and

recommendation of the magistrate judge are hereby adopted and

incorporated herein.     It is, accordingly, ORDERED that the

movant’s motion pursuant to 28 U.S.C. § 2255 be, and it hereby

is, denied.    The court further ORDERS that this action be, and it

hereby is, dismissed and stricken from the docket.




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      In the proposed findings and recommendation, the magistrate
judge further noted that even assuming the defendant had not
procedurally defaulted, his substantive claims were without
merit. Having reviewed the proposed findings and recommendation
and movant’s objections thereto, the court agrees with the
magistrate judge’s conclusion.

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           The Clerk is directed to forward copies of this written

opinion and order to the movant, all counsel of record, and the

United States Magistrate Judge.


                                         DATED: June 19, 2006



                                         John T. Copenhaver, Jr.
                                         United States District Judge




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